
USCA1 Opinion

	










          July 6, 1995
                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT





                                 ____________________

        No. 94-2132

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                  DOUGLAS ABRAHAMS,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEW HAMPSHIRE

                   [Hon. Steven J. McAuliffe, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Cyr, Boudin and Lynch,
                                   Circuit Judges.
                                   ______________
                                           

                                 ____________________

            Roger A. Cox on brief for appellant.
            ____________


                                 ____________________


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                      Per  Curiam.    Douglas  Abrahams  pled  guilty  to
                      ___________

            conspiring to  possess cocaine with intent  to distribute and

            to distribute cocaine in violation of 21 U.S.C.   846 and was

            sentenced  to  serve  92 months  in  a  federal  prison.   He

            appealed  from  his sentence.    After  this court  appointed

            Attorney Roger  Cox as appellate  counsel, Cox filed  a brief

            under  Anders  v. California,  386  U.S. 738  (1967),  on the
                   ______     __________

            ground  that he had  been unable to  identify any meritorious

            ground  for appeal.   Cox also filed a  motion to withdraw as

            Abrahams' counsel, notifying Abrahams of his  right to file a

            separate  brief.   Abrahams has  not filed  a brief,  and the

            deadline for doing so has now passed. 

                      We agree  that this appeal presents  no meritorious

            issues,  and so we affirm the sentence.  The record indicates

            that  Abrahams did  not  believe that  he should  receive the

            enhanced  base offense level  accorded career offenders under

            the United States Sentencing  Guidelines Manual   4B1.1 (Nov.

            1993).  Relying on Abrahams' previous convictions for robbery

            in  Maine and for assault and battery with a dangerous weapon

            in Massachusetts,  the probation officer found  that Abrahams

            was  a career offender within  the meaning of    4B1.1 and so

            enhanced Abrahams' base offense level  under that guideline.1




                                
            ____________________

            1.  The  convictions  were a  June  25,  1984 conviction  for
            robbery in Cumberland  County, Maine, and  an April 15,  1988
            conviction for  assault and battery  by means of  a dangerous
            weapon in Newburyport, Massachusetts.  















            In  a  letter to  the  probation  officer, Abrahams'  counsel

            objected  to  the  use  of  those  convictions  to  establish

            Abraham's  career offender  status.   According  to  counsel,

            Massachusetts had  reneged  on  a  plea  agreement  promising

            Abrahams a concurrent sentence on the Massachusetts charge if

            he  pled guilty to both the  Maine and Massachusetts charges.

            Counsel also stated that  no mittimus had ever been  filed in

            the Massachusetts conviction.  

                      At  sentencing,  counsel  reasserted his  objection

            based  on  Massachusetts'  alleged  violation  of  its   plea

            agreement with Abrahams, although his objection may have been

            limited to  the Maine  conviction.   Citing Custis  v. United
                                                        ______     ______

            States, 114  S. Ct. 1732, 1735-36, 1738-39  (1994), the court
            ______

            overruled the objection because Abrahams had been represented

            by  counsel in  those  convictions.   In Custis,  the Supreme
                                                     ______

            Court  held that the Armed  Career Criminal Act,  18 U.S.C.  

            924(e),  did  not  specifically  permit  any  such collateral

            attack, and it  declined to  imply any such  right under  the

            statute.    Id.  at  1735-36.    The  Court  also  held  that
                        ___

            defendants could  attack a prior state  court conviction used

            for sentence enhancement under  the Constitution only if they

            had not been represented by counsel at all in connection with

            the prior conviction.  Id. at 1738.
                                   ___

                      The  district  court  correctly found  that  Custis
                                                                   ______

            foreclosed  any constitutionally  based collateral  attack on



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            Abrahams'   prior  state   convictions  at   his  sentencing.

            According  to  the  presentence  report,  Abrahams  had  been

            represented by  counsel in  both the Maine  and Massachusetts

            convictions.     His  counsel  affirmed  that   fact  at  the

            sentencing hearing.  In  addition, the Sentencing  Guidelines

            do not independently permit  collateral attack on prior state

            convictions used  to establish  career offender  status under

            guideline    4B1.1.   Guideline    4A1.2 applies  in counting

            convictions under   4B1.1.  See USSG   4B1.2, comment. (n.4).
                                        ___

            Application  note  6  of  that guideline  states  that  "this

            guideline and commentary do not confer upon the defendant any

            right  to   attack  collaterally  [in  a  current  sentencing

            proceeding] a  prior conviction  or sentence beyond  any such

            rights  otherwise  recognized  in  law[.]"    At  sentencing,

            counsel did  not  assert  that  any other  statute,  rule  or

            regulation  independent of the  Guidelines gave  Abrahams any

            such right, and, as noted, the Constitution conferred no such

            right on Abrahams here.  See United States v. Munoz, 36  F.3d
                                     ___ _____________    _____

            1229,  1337 (1st  Cir.  1994)  (the  constitutional  question

            resolved  in   Custis  is  the  same   under  the  sentencing
                           ______

            guidelines  as under  the Armed  Career Criminal  Act), cert.
                                                                    _____

            denied, 115 S. Ct. 1164 (1995).  
            ______

                      Accordingly, the court did not err in accepting the

            probation officer's determination that Abrahams was a  career

            offender within the meaning of   4B1.1.  See United States v.
                                                     ___ _____________



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            Garcia, 42 F.3d 573,  578-81 (10th Cir. 1994);  United States
            ______                                          _____________

            v. Jones, 28 F.3d 69, 70 (8th Cir. 1994) (both concluding, on
               _____

            the basis of application note 6 in the 1993 USSG Manual, that

            a  defendant,  who had  been  found to  be  a    4B1.1 career

            offender  had  no  right  to collaterally  attack  his  prior

            convictions where he had been represented by counsel in those

            convictions and had not  pointed to any other law  that would

            authorize such a challenge); compare United States v. Isaacs,
                                         _______ _____________    ______

            14  F.3d 106,  109-10  &amp; n.3  (1st  Cir. 1994)  (after  1990,

            application  note  6  precluded  collateral  review  of prior

            convictions  at  sentencing),  limitation  on  other  grounds
                                           ______________________________

            recognized in United States v. Cordero, 42 F.3d 697, 701 (1st
            _____________ _____________    _______

            Cir. 1994).  

                      We have reviewed the  transcripts of Abrahams' plea

            hearing and  sentencing hearing  carefully and have  found no

            error that would warrant this appeal.  Since Cox has complied

            with all requirements of Loc. R. 46.4(a), we hereby grant his
                                                                _____

            motion to withdraw as counsel and affirm Abrahams' sentence.
                                              ______

                      It is so ordered.  
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